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UNITED STATES BANKRUPTCY COURT                                Hearing Date: August 26, 2021
SOUTHERN DISTRICT OF NEW YORK                                 Hearing Time: 10:00 A.M. (ET)
----------------------------------------------------------X

In re:                                                        Chapter 11

286 RIDER AVE ACQUISITION LLC,                                Case No: 21-11298 (LGB)

                                           Debtor.
----------------------------------------------------------X

            DECLARATION OF LEE E. BUCHWALD IN SUPPORT OF DEBTOR’S
             RESPONSE TO MOTION OF 286 RIDER AVE DEVELOPMENT LLC
                   TO (I) DISMISS BANKRUPTCY CASE PURSUANT TO
               11 U.S.C. §§ 105, 305 AND 1112 AND (II) FOR TURNOVER OF
               CERTAIN MEMBERSHIP INTERESTS UNDER 11 U.S.C. § 543

         Lee E. Buchwald declares under penalty of perjury that these statements are true

and correct:

           1.       I am the manager of 286 Rider Ave Acquisition LLC (“Debtor” or “286

Rider”).        Except as otherwise indicated, all facts in this declaration are based on my

personal knowledge, my review of relevant documents, or my opinion based on my

experience and involvement in this bankruptcy case. As a result, I am thoroughly familiar

with the facts set forth herein.

           2.       I submit this declaration in support of the Debtor’s Response to Motion of 286

Rider Ave Development LLC (“Development”) to (I) Dismiss Bankruptcy Case Pursuant to

11 U.S.C. §§105, 305 and 1112 and (II) for Turnover of Certain Membership Interests

Under 11 U.S.C. §543 (the “Response”).

           3.       On September 19, 2019, 286 Rider, as the borrower, entered into a mortgage

loan (“Loan”) in the original principal amount of $8,000,000.00 with Be-Aviv 286 Rider

LLC (“Lender”) in its capacity as the Lender. In connection with the Loan, 286 Rider


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executed a promissory note (as amended, the “Note”) and granted Lender a mortgage and

security interest in its property located at 286 Rider Avenue, Bronx, New York 10451

(“Property”).        To secure payment of the Note, 286 Rider’s sole member Development

pledged its one hundred percent (100%) of the membership interests in 286 Rider

(“Membership Interests”) to Lender under the Membership Interest Pledge Agreement,

dated as of September 19, 2019 (“Pledge Agreement”).

         4.         On or about September 17, 2019, (i) the Debtor executed a Certificate For

Limited Liability Company Interests in 286 Rider (“Certificate”), under which the Debtor

certified that Development is the registered owner of 100% of the limited liability company

interests in 286 Rider, and (ii) Development, by its authorized signatory Moskovits, signed

an Assignment of Interest in blank, selling, assigning and transferring its Membership

Interests in 286 Rider and irrevocably appointing the transferee of the Assignment of

Interests (i.e., the Lender) to transfer the same on the books and records of 286 Rider. See

Declaration of Ben Harlev, dated August 19, 2021 (hereinafter, “Lender Declaration”)

Exhibit G thereto.

         5.         By letter dated March 2, 2021 (“March 2nd Letter”), the Lender (i) notified 286

Rider that the Loan matured on March 1, 2021, (ii) demanded immediate payment of all

amounts due under the Loan Documents by 286 Rider, through March 1, 2021, which

totaled $8,207,680.65 as of that date, and (iii) advised 286 Rider that its failure to make

payment of all sums due to Lender on or before March 15, 2021 (together with per diem

interest) will result in the Lender taking such action as it considers necessary and

appropriate to protect and enforce its rights, (iv) informed 286 Rider that if payment in


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full is not made before March 15, 2021, interest will accrue at the default rate as of March

2, 2021, and (v) reserved its rights. A copy of the March 2nd Letter is attached as Exhibit J

to the Lender Declaration.

         6.         I have been advised that 286 Rider did not respond to the March 2nd Letter.

         7.         By letter dated April 27, 2021 (“April 27th Pledge Exercise Letter”), Lender’s

counsel advised 286 Rider and Development that (i) 286 Rider was previously notified that

the loan matured on March 1, 2021, (ii) 286 Rider’s continuing failure to pay the

outstanding amount due under the loan owed constituted an Event of Default under the

loan documents (“Loan Documents”), and (iii) because of the Event of Default, Lender is

entitled, in its sole discretion, to exercise rights and remedies under the Loan Documents.

Lender’s counsel advised Development that according to Section 5(a) of the Pledge

Agreement, it was exercising its right to assign, transfer, and request, as applicable, all

membership and equity interests in 286 Rider to Lender and in the name of Lender as if

Lender were the absolute owner. Lender instructed 286 Rider to register Lender as the

record owner, update corporate record books, and notify Lender upon completion. On that

date, Lender exercised its rights under the Pledge Agreement and assigned, transferred,

and registered, as applicable, all Membership Interests of Development in 286 Rider to

and in the name of Lender as if Lender were the absolute owner. This letter also

demanded the immediate turnover of all books and records of the Debtor. A copy of the

April 27th Pledge Exercise Letter is attached as Exhibit K to the Lender Declaration.

         8.         On June 14, 2021, Lender appointed 286 Rider Ave Lender LLC as managing

member of Debtor by entering into an assignment and assumption agreement between


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Debtor and Lender (“Assignment”). The Assignment is attached to the Lender Declaration

as Exhibit L.

         9.         I have been advised that neither Development nor 286 Rider responded to the

April 27th Pledge Exercise Letter.

         10.        Effective July 1, 2021, 286 Rider Lender retained me as manager of 286

Rider to file a Chapter 11 petition for the Debtor, manage the Debtor during the

bankruptcy case, and oversee the bankruptcy case as the Debtor’s sole authorized

representative.

         11.        As 286 Rider was unable to satisfy its current financial obligations to

creditors and having received, considered, and had discussions with counsel, and in my

business judgment as manager, I believed it was in the best interest of the 286 Rider and

its creditors for it to file for relief under Chapter 11 of Title11 of the United States Code

(“Bankruptcy Code”).

         12.        By letter dated July 14, 2021 (“July 14th Letter”), Lender’s counsel advised

286 Rider and Development that (i) 286 Rider was previously notified in the March 2nd

Letter that the Loan matured on the extended maturity date of March 1, 2021, (ii) by the

April 27th Pledge Exercise Letter, 286 Rider was notified that its failure to pay all sums

due under the Loan constituted an Event of Default under the Loan Documents, (iii)

because of the Event of Default, Lender executed its right under the Pledge Agreement to

assign, transfer and register the Membership Interests in and to the name of the Lender

as if the Lender was the absolute owner thereof. The July 14th Letter confirmed again

that the Lender had exercised its rights under the Pledge Agreement and made a second


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demand for all the books and records of the Debtor. A copy of the July 14th Letter is

attached as Exhibit M to the Lender Declaration.

         13.        On July 15, 2021, as the manager of 286 Rider, I duly authorized the

Debtor’s filing of its Chapter 11 bankruptcy case. Resolutions were adopted that 286

Rider should (i) file for bankruptcy protection, (ii) obtain Debtor in possession financing

(subject to court approval) from the Lender or such other Lender offering better terms, (iii)

retain Robinson Brog Leinwand Greene Genovese & Gluck P.C. as bankruptcy counsel,

and (iv) retain Rosewood Realty Group, as real estate broker, to sell the Property. A copy

of the resolutions is attached hereto as Exhibit A.

         14.        On July 15, 2021, 286 Rider filed for voluntary relief under Chapter 11 of the

Bankruptcy Code.

         15.        As a result of (i) the membership change brought on by 286 Rider’s default

under the Loan and the Lender’s exercise of its rights under the Pledge Agreement, and

(ii) transferring the Membership Interests in 286 Rider to 286 Rider Lender, the Debtor is

currently not in possession of its books and records and could not file, among other things,

its list of 20 largest unsecured creditors, schedules and statement of financial affairs.

         16.        As the new owners of the Debtor lacked access to the Debtor’s books and

records to prepare its schedules and statement of financial affairs, on July 15, 2021, the

Debtor applied (“Rule 2004 Application”) under Bankruptcy Rule 2004 to subpoena the

Debtor’s books and records and examine Toby Moskovitz (“Moskovitz”) and Michael

Lichtenstein (“Lichtenstein”) to obtain the information needed to prepare and file a

complete set of schedules and statement of financial affairs.


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         17.        On July 15, 2021, the Debtor also moved to extend its deadline to files its

schedules and statement of financial affairs so that upon receipt of its books and records

and other financial information, the Debtor will have sufficient time to review all

information and complete its schedules and statement of financial affairs.

         18.        By Order dated July 16, 2021 (“Rule 2004 Order”), this Court granted the

2004 Application. As a result, the Debtor, through counsel, issued subpoenas for Rule

2004 examinations seeking documents from (i) Development, Moskovitz, and Lichtenstein

by August 5, 2021 (collectively, the “Document Requests”) and the examinations of

Lichtenstein on August 9, 2021, and Moskovitz on August 12, 2021. No documents have

been produced, and thus both Lichtenstein and Moskovitz have not been examined.

         19.        By Order dated July 21, 2021, this Court extended the Debtor’s deadline to

file its Statement of Financial Affairs and Schedule of Assets and Liabilities (‘Schedules”)

and other documents, to and including August 26, 2021.

         20.        On August 3, 2021, Development objected to Order Granting 286 Rider Ave

Acquisition LLC’s Ex-Parte Motion For Entry Of An Order Pursuant To Bankruptcy Rule

2004 Authorizing Discovery Examinations Of (I) Moskovitz And (II) Lichtenstein (“Rule

2004 Objection”).         Thereafter, on August 12, 2021, Development filed a motion under

Federal Rule of Bankruptcy Procedure 9023 and Federal Rule of Civil Procedure 60(b) for

relief from Order pursuant to Bankruptcy Rule 2004 authorizing discovery examinations

of (i) Toby Moskovits and (ii) Michael Lichtenstein.

         21.        As Moskovits and Lichtenstein refused to timely turn over the Debtor’s books

and records, on August 12, 2021, the Debtor filed a second motion to extend the deadline


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to file its Statement of Financial Affairs and Schedules. The hearing on the motion is

scheduled for August 26, 2021.

         22.        On August 5, 2021, Development moved to dismiss the Debtor’s bankruptcy

case asserting that the case should be dismissed for the following reasons:

                    (i)     the Pledge Agreement was defective because it was not signed by the
                            proper party with authority to bind pledgor Development;

                    (ii)    the case is a mere two-party collection dispute for which there is no
                            proper purpose for a bankruptcy case;

                    (iii)   Lender has “weaponized” its defective pledge to commence a
                            bankruptcy case to sell its real estate collateral, allowing Lender to
                            avoid (a) the consequences of its purported bad faith prepetition
                            conduct, (b) its purported default in the state court litigation filed by
                            Heritage 875 4th Avenue LLC, Heritage 286 Rider Ave LLC, 875 4th
                            Avenue Acquisition LLC, 286 Rider Avenue Acquisition LLC, Toby
                            Moskovitz and Michael Lichtenstein (collectively, the “State Court
                            Plaintiffs”) against Aviv Arava Management, LLC, Be-Aviv 4th Avenue
                            Mortgage Lender LLC, Be-Aviv 286 Rider LLC, Be-Aviv 4th Avenue
                            Lender LLC, Ben Harlev and Eyal Epstein (collectively, the State
                            Court Defendants”) in the Supreme Court of the State of New York,
                            County of Kings (the “State Court Action”), and (c) due process
                            inherent in a state law foreclosure action or UCC sale;

                    (iv)    Lender’s improper actions clogged the borrower’s equity of redemption;
                            and

                    (v)     bankruptcy case is a disguised involuntary proceeding where the debt
                            is in bona fide dispute.

         23.        Development’s motion also seeks an order requiring the Lender to turn over

the Membership Interests in 286 Rider to it.

         24.        In analyzing whether this case is a two-party dispute, movant Development

is neither a creditor of the Debtor nor a party in the State Court Action. Instead, it is a

disgruntled former owner of the Debtor with no claim other than its motion to turnover

the Membership Interests, which fails for the reasons outlined in the Response.
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          25.       By refusing to respond to the Court’s 2004 Order, which Development is now

in default of, or make discovery under the subpoenas served under the 2004 Order, I am

advised by my counsel that Moskovits and Lichtenstein have also both defaulted and that

their failure to comply with the Rule 2004 subpoenas before the date for their compliance

is at their peril. More significantly, it is improper for Development to withhold the books

and records from me and prevent me from determining the full extent of the creditor body

while asserting this case is a mere “two-party” dispute.

         26.        Although the Debtor cannot review its books and records because Moskovits

and Lichtenstein have not produced them in violation of the Court’s Rule 2004 Order and

the subpoenas that were issued in connection with it, the Debtor has been able to

determine the existence of these creditors from public records and its knowledge of the

case:

                    (i)     a Judgment by Confession in favor of 286 Rider Associates, LLC in the
                            amount of $1,178,725, entered on December 17, 2020, a copy of which
                            is attached to the Lender Declaration as Exhibit O;

                    (ii)    outstanding real estate taxes owed as of June 5, 2021, in the amount of
                            $54,421.82, as evidenced by the N.Y.C. Department of Finance
                            Property Tax Bill Quarterly Statement, a copy of which is attached as
                            Exhibit B;

                    (iii)   anticipated1 liabilities for attorneys’ fees incurred in the State Court
                            Action by the Debtor to their attorneys — Goldberg & Markus PLLC
                            and Jonathan Schwartz Law LLC in an unknown amount;

                    (iv)    The Lender is owed more than $8,000,000 based on the Loan and the
                            Loan Documents plus interest, default interest, protective advances,


1 The Debtor uses the word “anticipated” because Mr. Buchwald has been unable to access the Debtor’s
books and records because Development, Moskowitz and Lichtenstein have all defaulted in responding to the
Rule 2004 Order and the subpoenas issued to them. The pending Rule 60(b) motion was made after the date
for compliance had expired.
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                          legal fees and other charges due under the loan in the approximate
                          amount of not less than $8,207,680.65 as of March 1, 2021;

                    (v)   There may be claims by (i) an insurance company for coverage on the
                          warehouse structure located on the premises at 286 Rider Avenue and
                          Property and (ii) one or more utility companies if utilities were used
                          but remain unpaid.

         I declare under penalty of perjury under the laws of the United States of America,

pursuant to 28 U.S.C. § 1746 that the foregoing is true and correct.

         Executed this 19th day of August, 2021.


                                                   286 RIDER AVE ACQUISITION LLC


                                                   By: /s/ Lee E. Buchwald
                                                   LEE E. BUCHWALD
                                                   MANAGER




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                             EXHIBIT A
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                             EXHIBIT B
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          Department of Finance                                   Quarterly Statement
                                                                  Activity through June 5, 2021

          Owner name: 286 RIDER AVE ACQUISITION LLC                        Mailing address:
          Property address: 286 RIDER AVE.                                 C/O:. HERITAGE EQUITY PARTNERS
          Borough, block & lot: BRONX (2), 02333, 0033                     286 RIDER AVE. ACQUISITION LLC
                                                                           679 DRIGGS AVE.
                                                                           BROOKLYN NY 11211-4023



          Outstanding Charges                             $21,505.68

          New Charges                                     $32,916.14

          Amount Due                                      $54,421.82

                                                     Please pay by July 1, 2021




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                                    PLEASE INCLUDE THIS COUPON IF YOU PAY BY MAIL OR IN PERSON 2-02333-0033

          Department of Finance

      Total amount due by July 1, 2021                                                                 $54,421.82
      If you want to pay everything you owe by July 1, 2021 please pay                                 $87,008.80



                                                                        Amount enclosed:

             #840160421060501#
                                                                       Make checks payable & mail payment to:
                   C/O:. HERITAGE EQUITY PARTNERS                      NYC Department of Finance
                   286 RIDER AVE. ACQUISITION LLC                      P.O. Box 680
                   679 DRIGGS AVE.                                     Newark NJ 07101-0680
                   BROOKLYN NY 11211-4023




      8401604210605 01 2023330033 0000005442182 0000008700880 210701112022000                                       6
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Billing Summary                                             Activity Date Due Date                                                                     Amount
Outstanding charges including interest and payments                                                                                                 $21,505.68
Finance-Property Tax                                                             07/01/2021                                                         $32,916.14
Total amount due                                                                                                                                    $54,421.82

Tax Year Charges Remaining                      Activi ate Due Date                                                                                   Amount
Finance-Property Tax                                           01/01/2022                                                                           $32,916.14
Total tax year charges remaining                                                                                                                    $32,916.14
If you want to pay everything you owe by July 1, 2021 please pay                                                                                    $87,008.80
If you pay everything you owe by July 1, 2021, you would save:                                                                                         $329.16

Overpayments/Credits                                       Activity Date Due Date                                                                    Amount
Credit Balance                                                           01/25/202 1                                                               $-9,500.00
 Credit Applied                                            01/26/202 1                                                                              $9,500.00
Credit Balance                                                           04/01/2021                                                                $-9,500.00
 Credit Applied                                            02/23/2021                                                                               $9,500.00
                                                                                                 Total credit applied                              $19,000.00
Total overpayments/credits remaining on account                                                                                                         $0.00


Annual Property Tax Deta
                                                                                        Overall
Tax class 4 - Commercial Or Industrial                                                 Tax Rate
 Current tax rate                                                                     10.6940%
Estimated Market Value $1,368,000
                                                                                                                                                      Taxes
Billable Assessed Value                                                           $615,600
Taxable Value                                                         $615,600 x 10.6940%
Tax Before Abatements and STAR                                                  $65,832.28                                                        $65,832.28
Annual property tax                                                                                                                               $65,832.28




         Home banking payment instructions:

         1. Log into your bank or online bill pay website.
         2. Add the new payee: NYC DOF Property Tax. Enter your account number, which is your boro,
            block and lot, as it appears here: 2-02333-0033. You may also need to enter the address for the
            Department of Finance. The address is P.O. Box 680, Newark NJ 07101-0680.
         3. Schedule your online payment using your checking or savings account.

                                              Did Your Mailing Address Change?
                             If so, please visit us at nvc.qov/chanqemailinqaddress or call 311.

             When you provide a check as payment, you authorize us either to use information from your check to make a one-time electronic fund
                                       transfer from your account or to process the payment as a check transaction.




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Please note that property tax bills due in July and October of 2021 are calculated using the 2021 tax rates. Property tax
bills due in January and April of 2022 will be calculated using the 2022 tax rates.

Please pay your bill on time and in full to avoid being charged interest. For information about the interest rate charged on
late payments, visit nyc.gov/latepropertypayments.

Please call 311 to speak to a representative to make a property tax payment by telephone.

Register to receive your property tax payment receipts by email! Visit nyc.gov/contactdof to sign up.

The NYC Health Department would like to remind property owners that they must remove standing water, as mosquitos
can breed in warm weather. For more information, please visit nyc.gov/health or call 311.

If you would like a payment agreement for your outstanding property taxes, we now offer a monthly payment agreement
as well as the semi-annual and quarterly agreements.




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